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 1   DENNIS J. HERRERA, State Bar #139669
     City Attorney
 2   MEREDITH B. OSBORN, State Bar #250467
     Chief Trial Deputy
 3   MARGARET W. BAUMGARTNER, State Bar #151762
     KAITLYN MURPHY, State Bar #293309
 4   Deputy City Attorneys
     Fox Plaza
 5   1390 Market Street, 6th Floor
     San Francisco, California 94102-5408
 6   Telephone:    (415) 554-3859 [Baumgartner]
     Telephone:    (415) 554-3867 [Murphy]
 7   Facsimile:    (415) 554-3837
     E-Mail:       margaret.baumgartner@sfcityatty.org
 8   E-Mail:       kaitlyn.murphy@sfcityatty.org

 9
     Attorneys for Defendants
10   CITY AND COUNTY OF SAN FRANCISCO,
     VICKI HENNESSY; MATHEW FREEMAN,
11   PAUL MIYAMOTO; JASON JACKSON, AND
     SGT. DOLLY
12

13
                                      UNITED STATES DISTRICT COURT
14
                                    NORTHERN DISTRICT OF CALIFORNIA
15
      FABIAN JOHNSON, MATHEW RABBITT,                   Case No. 3:18-cv-04890-JCS
16    TRAVIS ROSETTE, et al,                            Related Case No. 18-cv-06155 JCS
                                                        Related Case No. 18-cv-04857 JCS
17            Plaintiffs,
                                                        DECLARATION OF KAITLYN MURPHY IN
18            vs.                                       SUPPORT OF PLAINTIFFS’ UNOPPOSED
                                                        NOTICE AND MOTION FOR PRELIMINARY
19    CITY AND COUNTY OF SAN                            APPROVAL OF CLASS ACTION
      FRANCISCO; SAN FRANCISCO SHERIFF                  SETTLEMENT
20    VICKI HENNESSY; UNDER SHERIFF
      MATHEW FREEMAN; CHIEF DEPUTY
21    SHERIFF PAUL MIYAMOTO; CAPTAIN
      JACKSON; SERGEANT DOLLY and DOES
22    1-25,

23            Defendants.

24
      CANDIDO ZAYAS, RUBEN SOTO,
25    ALFREDO RUIZ, JOSE POOT, MILTON
      LECLAIRE, NIGEL HENRY, ROBERT
26    DOMINGUEZ, and MATTHEW BRUGMAN
      on behalf of themselves individually and others
27    similarly situated, as a class and Subclass,

28            Plaintiffs,
      Murphy Decl. ISO Unopposed Mtn for Prelim. App.    1                       n:\lit\li2018\190245\01443337.docx
      Johnson v. CCSF - Case No. 3:18-cv-04890-JCS
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 1            vs.
 2    SAN FRANCISCO COUNTY SHERIFF’S
      DEPARTMENT, CITY AND COUNTY OF
 3    SAN FRANCISCO, SAN FRANCISCO
      SHERIFF VICKI HENNESSEY; UNDER
 4    SHERIFF MATHEW FREEAN; CHIEF
      DEPUTY SHERIFF PAUL MIYAMOTO;
 5    CAPTAIN JASON JACKSON, SARGEANT
      DOLLY and John & Jane DOEs, Nos. 1 - 50,
 6
              Defendants.
 7
      DIONN NOVELL TAYLOR,
 8
              Plaintiff,
 9
              vs.
10
      SAN FRANCISCO COUNTY JAIL, S.F.
11    UNDERSHERIFF VICKI HENNESSY, S.F.
      SHERIFFS CAPTAIN JACKSON, S.F.
12    SHERIFFS SERGEANT MILLER, S.F.
      SHERIFFS SERGEANT DOLLY ,
13
              Defendants.
14

15

16                                DECLARATION OF KAITLYN MURPHY
17          I, KAITLYN MURPHY, declare as follows:
18          1.       I am an attorney and counsel of record for Defendants in the above-referenced actions.
19   Except where otherwise indicated, the following facts are known to me personally, and if called upon
20   as a witness, I would testify to them competently.
21          2.       I submit this declaration in support of Plaintiffs’ Unopposed Notice and Motion For
22   Preliminary Approval of Class Action Settlement.
23          3.       In late January 2020, the parties in the above-referenced actions reached an agreement
24   in principle regarding settlement of these claims, including settlement of the class claims
25   memorialized in a proposed Full and Final Release (the “agreement”). This agreement is contingent on
26   resolution of all three matters. In addition to the Court’s approval of the class action settlement in
27   Zayas, the agreement is also conditional on the approval of the named parties. For Defendants, the
28
      Murphy Decl. ISO Unopposed Mtn for Prelim. App.      2                           n:\lit\li2018\190245\01443337.docx
      Johnson v. CCSF - Case No. 3:18-cv-04890-JCS
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 1   following events are express conditions precedent to the validity and enforceability of this agreement:

 2   approval of the agreement and release by the Board of Supervisors by formal adoption of an

 3   Ordinance authorizing the Agreement followed by approval by the Mayor. That approval process is

 4   underway, but not yet complete. For the named Plaintiffs, the approval process requires signed copies

 5   of the release from all named Plaintiffs. Defendants have not yet received signed releases from any

 6   plaintiff.

 7           4.     Attached hereto as Exhibit A is a true and correct copy and the draft Full and Final

 8   Release that has been circulated to the parties in this action.

 9

10           I declare under penalty of perjury under the laws of the State of California that the preceding

11   declaration is true, and that this declaration was executed on April 29, 2020 in Berkeley, California.

12                                                      **/s/ Kaitlyn Murphy
13                                                      KAITLYN MURPHY

14
                                                        **Pursuant to Civil L.R. 5-1(i)(3), the electronic
15                                                      signatory has obtained approval from this signatory.

16

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28
      Murphy Decl. ISO Unopposed Mtn for Prelim. App.          3                         n:\lit\li2018\190245\01443337.docx
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EXHIBIT A
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                          FULL AND FINAL RELEASE
 Case Names and Nos.
 :        Johnson et al. v. City and County of San Francisco, et al., U.S.D.C. Case No. 18-cv-
          04890 JCS
          Zayas, et al. v. City and County of San Francisco, et al., U.S.D.C. Case No. 18-cv-
          06155 JCS
          Taylor v. City and County of San Francisco, et al., U.S.D.C. Case No. 18-cv-4857
          JSC
        FOR GOOD AND VALUABLE CONSIDERATION, in the amount of
$2,100,000 (two million on hundred thousand and 00/100 Dollars) (the "SETTLEMENT
AMOUNT"), the sufficiency of which is hereby admitted and acknowledged, plaintiffs,
individually and on behalf of their heirs, domestic partners, executors, administrators, and
assigns, if any (hereinafter referred to individually and collectively as "RELEASORS"),
hereby agree to fully and forever release and discharge the City and County of San
Francisco, together with its elective and/or appointive boards, agents, servants,
employees, consultants, departments, commissioners, and officers (hereinafter referred to
individually and collectively as "SAN FRANCISCO"), from any and all claims, actions,
causes of action, liabilities, damages, demands, attorneys' fees, expenses and costs
(including without limitation court costs) of any kind or nature whatsoever, whether
known or unknown, suspected or unsuspected, which have existed or may have existed,
or which do exist, or which hereafter shall or may exist, and which (1) are alleged or set
forth or attempted to be set forth in the pleadings on file in that certain consolidated
actions entitled "Johnson et al. vs. City and County of San Francisco, et al." being Action
No. 18-cv-04890 JCS, "Zayas et al. vs. City and County of San Francisco, et al." being
Action No. 18-cv-6155 JCS, and “Taylor v. City and County of San Francisco, et al.,”
U.S.D.C. Case No. 18-cv-4857 JSC on the records of the United States District Court for
the Northern District of California (hereinafter referred to collectively as the "ACTION"),
or (2) arise out of or are in any way related to any of the transactions, occurrences, acts or
omissions set forth or alleged in any of the pleadings in the Action (hereinafter referred to
collectively as the "CLAIMS").
        RELEASORS represent and warrant that they have not assigned or transferred, or
agreed to assign or transfer, or attempted to assign or transfer, to any third party or entity
(including without limitation any insurer) any interest in any of the CLAIMS.
RELEASORS agree to defend, indemnify and hold harmless SAN FRANCISCO against
any loss, expense or liability, including without limitation reasonable attorneys' fees,
arising from any breach of the foregoing. Furthermore, in the event that SAN
FRANCISCO learns that RELEASORS have breached this warranty, SAN FRANCISCO
may, at its sole option, elect to rescind this Full and Final Release, in which case
RELEASORS shall immediately remit to SAN FRANCISCO the SETTLEMENT
AMOUNT, plus interest accruing thereon at a rate of ten percent per year, compounded
monthly, from the date of payment thereof.
        RELEASORS represent and warrant that either (a) there are no liens, including
without limitation any medical reimbursement, unemployment or disability compensation
liens, but excluding restitution requirements, in existence which may attach to the
SETTLEMENT AMOUNT or to any recovery paid to RELEASORS pursuant to the
ACTION, or (b) to the extent there are any such liens, RELEASORS will pay and retire
all such liens out of the SETTLEMENT AMOUNT. RELEASORS agree to defend,

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indemnify and hold harmless SAN FRANCISCO against any and all claims by any
person or entity purporting to hold any lien, interest, or other claim, whether for medical
care, unemployment and/or disability compensation, attorneys' fees, or otherwise,
involving RELEASORS and arising in connection with any of the CLAIMS.
         In reaching a settlement of the CLAIMS resulting in the execution of this
RELEASE, RELEASORS and SAN FRANCISCO have considered and sought to protect
the interests of the Centers for Medicare and Medicaid Services ("CMS"), the federal
agency that runs Medicare. RELEASORS agree that the medical care received for any
physical injury claimed by the plaintiffs in this case was provided by the City and County
of San Francisco’s Jail Medical System at the City’s cost and thus is not subject to
medicare reimbursement procedures. RELEASORS and RELEASORS’ counsel agree to
defend, indemnify and hold harmless SAN FRANCISCO against any and all claims
arising out of or related to the terms of this paragraph, including without limitation, any
claims by CMS. RELEASORS and COUNSEL FOR RELEASORS further agree to
indemnify and forever hold harmless SAN FRANCISCO and its attorneys from any loss,
liability, or claim of any kind, past or present, or claims for future care, arising out of the
ACTION and occasioned by any lien, rights or obligations of any character whatsoever,
including but not limited to those created by Federal or State statutes, for liens arising
under Medicare.
       RELEASORS certify that they have read Section 1542 of the California Civil
Code, which provides:
            A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT
            THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
            SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
            EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM
            OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
            SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.
RELEASORS hereby waive application of Section 1542 of the Civil Code.
RELEASORS understand and acknowledge that, as a consequence of this waiver of
Section 1542, even if RELEASORS should eventually suffer additional or further loss,
damages or injury arising out of or in any way related to any of the events which gave
rise to the CLAIMS, or any of them, RELEASORS will not be permitted to make any
further claims against SAN FRANCISCO to recover for such loss, damages or injury.
RELEASORS acknowledge that they intend these consequences even as to claims for
personal injury or property damage that may exist as of the date of this Full and Final
Release but which RELEASORS do not know exist, and which, if known, would
materially affect RELEASORS' decision to execute this Full and Final Release,
regardless of whether RELEASORS' lack of knowledge is the result of ignorance,
oversight, error, negligence, or any other cause.
        RELEASORS acknowledge that, in executing this Full and Final Release, they
are acting on their own, independent judgment informed by their legal counsel.
RELEASORS acknowledge having read this Full and Final Release and having been
advised by their attorney as to its meaning and effect. RELEASORS acknowledge and
warrant that their execution of this Full and Final Release is free and voluntary.
RELEASORS further represent and warrant that, at the time they executed this Full and
Final Release, they were not in the period of first physical confinement, whether as an
inpatient or outpatient, in a clinic or health facility (as defined in Sections 1203 and 1250
of the Health and Safety Code) as a result of the injury alleged to have given rise to any


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of the CLAIMS, and that as a result Business and Professions Code section 6152(b)
cannot be used to invalidate this Full and Final Release.
        RELEASORS acknowledge that this Full and Final Release contains and
constitutes the entire agreement between RELEASORS and SAN FRANCISCO with
respect to the CLAIMS. The terms of this Full and Final Release are contractual and not
a mere recital. RELEASORS acknowledge that SAN FRANCISCO has made no
representations, express or implied, to induce RELEASORS to enter into this Full and
Final Release, other than as expressly set forth herein.
         No aspect of this Full and Final Release or the settlement which led to it is
intended to be nor at any time shall be construed, deemed, or treated in any respect as an
admission by SAN FRANCISCO of liability for any purpose. It is expressly understood
by RELEASORS that this Full and Final Release does not constitute an admission of the
truth or accuracy of any of the allegations made in the complaint on file in the ACTION
or of liability for any of the CLAIMS, and that SAN FRANCISCO expressly denies the
allegations made in the complaint, as more fully set forth in the answer or other
responsive pleadings on file in the ACTION.
         If any of the provisions of this Full and Final Release or the application thereof is
held to be invalid, its invalidity shall not affect any other provision or application of this
Full and Final Release to the extent that such other provision or application can be given
effect without the invalid provision or application, and to this end, the provisions of this
Full and Final Release are declared and understood to be severable; provided, however, that
should a court of competent jurisdiction hold that RELEASORS are entitled to sue SAN
FRANCISCO upon any of the CLAIMS, and should RELEASORS bring or join in such a
suit, then RELEASORS shall immediately remit to SAN FRANCISCO the SETTLEMENT
AMOUNT, plus interest thereon accruing at a rate of ten percent per year, compounded
monthly, from the date of payment thereof.
       RELEASORS understand and acknowledge that both RELEASORS and SAN
FRANCISCO shall bear their own legal expenses and costs incurred in connection with
prosecuting or defending against the ACTION and any of the CLAIMS.




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        This Full and Final Release and the settlement which led to it have been fully
negotiated with the assistance of counsel and should not be construed more strictly
against one party than another.
       This Full and Final Release may be executed in multiple counterparts, all of
which counterparts shall be deemed originals.
          APPROVED AS TO FORM:


          Dated:                                      Law Office of Yolanda Huang


                                                      __________________________
                                                      Yolanda Huang, Attorney for Zayas
                                                      Releasors and Dion Taylor


          Dated:                                      Law Office of Stanley Goff


                                                      __________________________
                                                      Stanley Goff, Attorney for Johnson
                                                      Releasors


          Dated:                                      Law Office of Fulvio Cajina


                                                      __________________________
                                                      Fulvio Cajina, Attorney for Johnson
                                                      Releasors


 Dated:
                                                               Margaret W. Baumgartner
                                                                Deputy City Attorney




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                   AGREEMENT OF FULL AND FINAL RELEASE:

 Dated:
                                               Nicolas Adelman a.k.a. Nicholas Addleman

 Dated:
                                                          Patrick Alba-Crocker

 Dated:
                                                             Michael Alexis

 Dated:
                                                                 Jesse Ali

 Dated:
                                                              Akai Allen Sr.

 Dated:
                                                              Dontae Allen

 Dated:
                                                          Jaun-Carlos Alvarez

 Dated:
                                                              Andre Alverty

 Dated:
                                                          Lawrence Anderson

 Dated:
                                                              David Archer

 Dated:
                                                              Jamar Babers

 Dated:
                                                           Christopher Bailey

 Dated:
                                                               Ryan Baker

 Dated:
                                                             Tyrell Baldwin

 Dated:
                                                   De’lon Barker a.k.a. Delon Barker

 Dated:
                                                             Joseph Barnett


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 Dated:
                                                                 Khalid Barrow

 Dated:
                                                              Jason Edward Bell

 Dated:
                                                                 Harry Benton

 Dated:
                                                                Deshawn Blake

 Dated:
                                                              Edward Blanche III

 Dated:
                                                                 Tommy Boggs

 Dated:
                                                                Michael Boyle

 Dated:
                                                                Elijah Brandon

 Dated:
                                              Michael Brown, individually and on behalf of the
                                                                   class

 Dated:
                                                            Richard Terron Brown

 Dated:
                                                     Ty-Rell Brown a.k.a. Tyrell Brown

 Dated:
                                              Matthew Brugman, individually and on behalf of
                                                               the class

 Dated:
                                                              Silas Omari Bryant

 Dated:
                                                                Darrell Buckins

 Dated:
                                                               Don Jaun Burrell

 Dated:
                                                                  Cory Butler


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 Dated:
                                                               Armando Carlos

 Dated:
                                                             Vernon Carmichael

 Dated:
                                                               Roman Carrasco

 Dated:
                                                               Anthony Carrion

 Dated:
                                                           Jose Fernandez Catala

 Dated:
                                                               Michael Cavness

 Dated:
                                              Jesse Chamberland a.k.a. Jesse James Chamberlin

 Dated:
                                                                 Teryll Chaplin

 Dated:
                                                                   Ben Chase

 Dated:
                                                Deshun Jamal Cobia-Augman a.k.a. Deshawn
                                                              Cobia-Augman

 Dated:
                                                                 Darious Cole

 Dated:
                                                                Leonard Colvin

 Dated:
                                                               Louis Conceicao

 Dated:
                                                Justin Cooper a.k.a. Justin Cooper or Justin L.
                                                                   Cooper

 Dated:
                                                       Crazy Bull a.k.a. Teo CrazyBull

 Dated:
                                                       Danty Curry a.k.a. Dante Curry


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 Dated:
                                                              Temu Curry

 Dated:
                                                          Andre Dangerfield

 Dated:
                                                            Mark Dascenzo

 Dated:
                                                          James Davenport

 Dated:
                                                             Mark Dennis

 Dated:
                                                           Antoine DeWhitt

 Dated:
                                              Ralph Dominguez a.k.a Roger Dominguez,
                                                individually and on behalf of the class

 Dated:
                                                              LaCarl Dow

 Dated:
                                                               Jihad Earl

 Dated:
                                                              Peter Elisary

 Dated:
                                                    Justin Eliot a.k.a. Justin Elliot

 Dated:
                                                           Reginald Elmore

 Dated:
                                                          Alejandro Estevez

 Dated:
                                                               Lee Farley

 Dated:
                                                                Ray Farr

 Dated:
                                                            Esau Ferdinand



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 Dated:
                                                           Walter Ferretti

 Dated:
                                                             Travis Fields

 Dated:
                                                           Arthur D. Finch

 Dated:
                                                           James Flanagan

 Dated:
                                                         William Flubacher

 Dated:
                                                             Paul Frazier

 Dated:
                                                       Mathew Fredrickson

 Dated:
                                                 Dana Gains a.k.a. Dana Gaines

 Dated:
                                                           Delonzo Gallon

 Dated:
                                              Edilberto Garcia a.k.a. Ediberto Garcia

 Dated:
                                                             Rene Garcia

 Dated:
                                                           Lance Gardner

 Dated:
                                                           Robert Gibson

 Dated:
                                                           Antonio Gilton

 Dated:
                                                             Barry Gilton

 Dated:
                                                          Clayton Gonzalez



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 Dated:
                                                               Adrian Gordon

 Dated:
                                                                 Korey Gray

 Dated:
                                                                 Fred Green

 Dated:
                                                                 Bryon Gross

 Dated:
                                                                Donell Guidry

 Dated:
                                                              Tyshaun Guillory

 Dated:
                                                                Michael Haga

 Dated:
                                                                  Craig Hall

 Dated:
                                                                  Henry Hall

 Dated:
                                                            Christopher Hardee

 Dated:
                                                              Monzell Harding

 Dated:
                                                             La Vondre Harper

 Dated:
                                                               Marshall Harris

 Dated:
                                                                  Shelly Hart

 Dated:
                                                                Charles Heard

 Dated:
                                               Nigel Henry, individually and on behalf of the
                                                                   class



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 Dated:
                                                        Victor Hernandez

 Dated:
                                                 Phillip Hill Jr. a.k.a. Phillip Hill

 Dated:
                                                 Raman Hill a.k.a. Raymon Hill

 Dated:
                                                            Rashaad Hill

 Dated:
                                                          Adrian Holden

 Dated:
                                                         Douglass Hughes

 Dated:
                                                          Derrick Hunter

 Dated:
                                               James R Isham a.k.a. James Isham

 Dated:
                                                           Kevin Jackson

 Dated:
                                                          Marcel Jackson

 Dated:
                                                            Judd Janice

 Dated:
                                                         Russell Jefferson

 Dated:
                                                          Fabian Johnson

 Dated:
                                                          Joseph Johnson

 Dated:
                                               Damion Jones a.k.a. Damien Jones

 Dated:
                                                             Jarel Jones



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 Dated:
                                                                   Lavon Jones

 Dated:
                                                                   Travis Jones

 Dated:
                                                                 Samuel Jordan

 Dated:
                                                                  Melvin Junior

 Dated:
                                                   Adrian K. Williams a.k.a. Adrian Williams

 Dated:
                                                    Thomas Kaina Jr. a.k.a. Thomas Kaina

 Dated:
                                                                   Paul Keglar

 Dated:
                                                Pierre Kittress-Leaks a.k.a. Pierre Kittrell-Leaks

 Dated:
                                                              Christopher Kjelson

 Dated:
                                                                    Billy Ladd

 Dated:
                                                    Ronald Latney III a.k.a. Ronald Latney

 Dated:
                                                                   Antoine Lax

 Dated:
                                                                  Kem LeBlanc

 Dated:
                                               Milton LeClaire, individually and on behalf of the
                                                                      class

 Dated:
                                                                Devante Lindsey

 Dated:
                                                              Fernando Madrigal



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 Dated:
                                                 Alexis Mencia a.k.a. Alexis Mancia

 Dated:
                                                            Rudy Martinez

 Dated:
                                               Homer Matthews a.k.a. Homer Mathews

 Dated:
                                                           Samaje McClure

 Dated:
                                                         Winston McDonald

 Dated:
                                                            Thomas McKay

 Dated:
                                                            Richard McNeil

 Dated:
                                                           Anthony Medina

 Dated:
                                                          Hiubert Mendoza

 Dated:
                                                            Richard Merrill

 Dated:
                                                 Joseph Meyers a.k.a. Joseph Meyer

 Dated:
                                                            Lamonte Mims

 Dated:
                                                            Frank Mozeke

 Dated:
                                                             John Norman

 Dated:
                                                           Dejiah Northcut

 Dated:
                                                           Michael O’Brian



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 Dated:
                                                                 Michael Onate

 Dated:
                                                               Sedredt D. Parmer

 Dated:
                                                                 Maurice Perry

 Dated:
                                                                 Shawn Pettway

 Dated:
                                                                 Joshua Pittman

 Dated:
                                               Jose Poot, individually and on behalf of the class

 Dated:
                                                                   Shaka Pope

 Dated:
                                                                 Rashad Preston

 Dated:
                                                    Junior Pulou a.k.a. Pulou Junior Pulou

 Dated:
                                                                  Ricky Quarels

 Dated:
                                                               Deandre Quinnine

 Dated:
                                                                Matthew Rabbitt

 Dated:
                                                                 Joseph Ramirez

 Dated:
                                                               Marcus Ransburg

 Dated:
                                                                 Gerald Reader

 Dated:
                                                                Sedric Reynolds



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 Dated:
                                                                Derell Richards

 Dated:
                                                               Troy Richardson

 Dated:
                                                               Derrium Riggins

 Dated:
                                                            Carey Paul Robertson

 Dated:
                                                               Damon Robinson

 Dated:
                                                                Sean Robinson

 Dated:
                                                           David Henry Rodriguez

 Dated:
                                                               Neville Roebuck

 Dated:
                                                                Travis Rosette

 Dated:
                                                                 Joseph Rowe

 Dated:
                                               Alfredo Ruiz, individually and on behalf of the
                                                                    class

 Dated:
                                                   Jacques Samuel a.k.a Samuel Jacques

 Dated:
                                                                Miguel Sanchez

 Dated:
                                                               Jonathan Santos

 Dated:
                                                            Kenneth Scarborough

 Dated:
                                                        Larry Raymond Scarbrough



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 Dated:
                                                               Vincent Scott

 Dated:
                                                              Leonard Seeley

 Dated:
                                                              Marvin Sexten

 Dated:
                                                            Dewayne Shelton

 Dated:
                                                               Jullian Shoats

 Dated:
                                                              Kareem Simms

 Dated:
                                                               Anthony Sims

 Dated:
                                                              Michael Smith

 Dated:
                                                               Roland Smith

 Dated:
                                           Ruben Soto, individually and on behalf of the class

 Dated:
                                                                  Saer Sow

 Dated:
                                                             Marvin Spencer

 Dated:
                                                            Robert Steinmiller

 Dated:
                                                              Bryan Stevens

 Dated:
                                                             Eugene Stevens

 Dated:
                                                             Antonio Stewart



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 Dated:
                                                    Walter Stokes III a.k.a. Walter Stokes

 Dated:
                                                                 Darnell Sullivan

 Dated:
                                               Dion Taylor a.k.a. Dionn Taylor, individually and
                                                            on behalf of the class

 Dated:
                                                                 Dontae Taylor

 Dated:
                                                 Bernard Thomas Jr. a.k.a. Bernard Thomas

 Dated:
                                                                  Craig Thomas

 Dated:
                                                           Isaiah Thompson-Bolden

 Dated:
                                                                  Keil Thurmon

 Dated:
                                                                  Nicholas Tiller

 Dated:
                                                                Geoffrey Tobias

 Dated:
                                                                Terrance Turner

 Dated:
                                                                 Greg Valentine

 Dated:
                                                               Jesse Ray Vaughn

 Dated:
                                                                   Robert Vella

 Dated:
                                                                 Louise Villareal

 Dated:
                                                               Cameron Vincent



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 Dated:
                                                                 Charles Walker

 Dated:
                                                                 Frank Wallace

 Dated:
                                                                    MC Ward

 Dated:
                                                             Antoine Washington

 Dated:
                                                               Terrence Watkins

 Dated:
                                                                  Henry White

 Dated:
                                                                 Eddie Whitfield

 Dated:
                                                                Alfonzo Williams

 Dated:
                                                                  Morzell Willis

 Dated:
                                                                Lewis Wingfield

 Dated:
                                               Derick Woods a.k.a. Dereik D Woods a.k.a Derrick
                                                                    Woods

 Dated:
                                               Candido Zayas, individually and on behalf of the
                                                                    class

 Dated:
                                                                  Dylan Zirpoli




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